                        Case 2:22-cr-01624-AM Document 1 Filed 06/24/22 Page 1 of 2
AO 442 (REV. 12/85)




                             UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                    §
                                                            § CRIMINAL COMPLAINT
vs.                                                         § CASE NUMBER: DR:22-M -01485(1)
                                                            §
(1) Pablo Abraham Rivera                                    §



                I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about June 21, 2022 in Dimmit county, in the WESTERN DISTRICT OF

TEXAS defendant(s) did, knowing or in reckless disregard of the fact that an alien has come to, entered, or

remains in the United States in violation of law, transports, or moves or attempts to transport or move such

alien within the United States by means of transportation or otherwise, in furtherance of such violation of law



in violation of Title             8            United States Code, Section(s)     1324(a)(1)(A)(ii)

.

                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts: "On June 21, 2022, defendant, Pablo Abraham Rivera, a U.S. Citizen, was arrested near

Carrizo Springs, TX for transporting illegal aliens into the U.S. Defendant was encountered driving a white

2014 GMC Sierra at the Border Patrol Checkpoint on FM 2644. Upon questioning of the vehicle's occupants',

agents discovered defendant was transporting two illegal

Continued on the attached sheet and made a part of hereof.




Sworn to before me and subscribed in my presence,
                                                                           Signature of Complainant
                                                                           Pena, Luis A
                                                                           Border Patrol Agent

06/24/2022                                                            at   DEL RIO, Texas
File Date                                                                  City and State



VICTOR ROBERTO GARCIA                                                      ______________________________
UNITED STATES MAGISTRATE JUDGE                                             Signature of Judicial Officer
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CONTINUATION OF CRIMINAL COMPLAINT

                               WESTERN DISTRICT OF TEXAS
      UNITED STATES OF AMERICA

                      vs.                            Case Number: DR:22-M -01485(1)

          (1) Pablo Abraham Rivera

Continuation of Statement of Facts:

aliens. Upon further inspection of the vehicle agents found a loaded Pioneer Arms Corp. Hellpup 7.62 AKM-47
rifle underneath the backseat. Defendant was previously arrested for alien smuggling in February 2020. Defendant
refused to make a statement."




______________________________
Signature of Judicial Officer                                 Signature of Complainant
